                   Case: 1:06-cv-00552 Document #: 402 Filed: 08/03/09 Page 1 of 3 PageID #:8921
Order Form (01/2005)


                              United States District Court, Northern District of Illinois

     Name of Assigned Judge        Matthew F. Kennelly          Sitting Judge if Other
        or Magistrate Judge                                      than Assigned Judge

   CASE NUMBER                              06 C 552                        DATE               8/3/2009
            CASE                                       Young, et al. vs. Cook County, et al.
            TITLE

  DOCKET ENTRY TEXT

  Plaintiffs’ motion to amend the pretrial order is granted [391 & 393]. Plaintiff’s motion to clarify ruling is
  terminated; the ruling in question is clarified as stated below [388]. Defendants’ motion to reconsider is
  granted in part and denied in part as stated below [384]. Plaintiffs’ motion for sanctions is granted as stated
  below [376]. The Court makes additional rulings on the parties’ motions in limine as stated below.




  O[ For further details see text below.]                                                         Docketing to mail notices.




                                                       STATEMENT
  The Court makes the following rulings:

  Defendants’ motion in limine 3 & 6C

  Upon further consideration of the materials offered with regard to plaintiffs’ motion in limine number 3, the
  Court has now concluded, as plaintiffs have argued, that evidence that use of similar methods of strip
  searching at dates prior to those at issue in the trial is relevant, and admissible under Federal Rule of
  Evidence 404(b), to show modus operandi.

  Plaintiffs also seek to admit evidence of lawsuits predating February 2007 for this and other purposes. The
  Court is still not completely certain what exactly plaintiffs intend to offer in this regard, and what they
  contend each such item of evidence shows. Before Court can rule on this point, plaintiffs must submit a
  detailed proffer of this evidence, and are directed to do so by no later than the morning of Tuesday, August 4.

  Defendants’ motion in limine 5

  Ruling on defendants’ motion in limine number 5 has been deferred until after plaintiffs submit a proffer of
  the testimony they intend to offer that is covered by this motion. See 7/29/09 Tr. at 42.

  Defendants’ motion in limine 6D

  Defendants’ objection to the Department of Justice report is overruled. See 7/29/09 Tr. at 52.




06C552 Young, et al. vs. Cook County, et al.                                                                     Page 1 of 3
            Case: 1:06-cv-00552 Document #: 402 Filed: 08/03/09 Page 2 of 3 PageID #:8922
                                          STATEMENT
 Defendants’ motion in limine 7

 Defendants’ objection to evidence and argument to the effect that the use of partitions was introduced as a
 result of litigation is sustained. See 7/29/09 Tr. at 56. With regard to the issue of practices following
 defendants’ introduction of body scanning machine for intake searches of male detainees, on or about March
 18, 2009, the Court determined that the trial will concern only defendants’ practices from February 2007
 through March 18, 2009. See 7/29/09 Tr. at 64.

 Plaintiffs’ motion in limine 1 / plaintiffs’ motion to clarify ruling

 Plaintiffs’ motion to clarify is granted, however, the Court clarifies that it has denied plaintiffs’ motion in
 limine number 1 in its entirety. See 7/29/09 Tr. at 79.

 Plaintiffs’ motion in limine 3

 Defendants advised that they are not asserting the defense of failure to exhaust administrative remedies under
 the Prison Litigation Reform Act, and thus the remaining open issue regarding plaintiffs’ motion in limine
 number 3 is moot. See 7/29/09 Tr. at 79-80.

 Plaintiffs’ motion in limine 6 / defendants’ motion to reconsider

 Defendants’ motion to reconsider the Court’s ruling regarding plaintiffs’ motion in limine number 6 is
 granted in part. The Court has determined that the IDOC reports offered by defendants and attached to their
 motion to reconsider are admissible under Federal Rule of Evidence 803(8). See 7/29/09 Tr. at 86-878. The
 reports from the Duran litigation, however, are inadmissible. See 7/29/09 Tr. at 83. The Court has also ruled
 that defense witness Charles Fasano cannot provide opinion testimony due to defendants’ non-harmless and
 unjustified failure to provide Rule 26(a)(2)(A) disclosures, see 7/29/09 Tr. at 93, and that although Mr.
 Fasano may testify regarding his observations to the extent they are relevant to the issues being tried, see
 7/29/09 Tr. at 92, any evidence that he made such observations in the capacity of a court-appointed monitor
 is excluded pursuant to Federal Rule of Evidence 403. See 7/29/09 Tr. at 93. Defendants are directed to
 discuss these points with Mr. Fasano before he testifies and will be required to advise the Court before Mr.
 Fasano testifies, outside the jury’s presence, how his presence at the Jail to make the observations at issue
 will be explained.

 Plaintiffs’ motion in limine 7

 The Court bars defendants, pursuant to Federal Rule of Evidence 403, from introducing evidence regarding
 the charges that testifying class members and other testifying detainees were facing at the time they were
 searched on intake at the Jail. There is no evidence or indication that any particular person’s charges were
 considered in searching that person. This evidence is similarly irrelevant, as well as unfairly prejudicial, for
 purposes of cross examining such witnesses. See Fed. R. Evid. 401, 402 & 403. This does not preclude
 defendants from cross-examining such witnesses regarding prior convictions that are properly admissible for
 impeachment purposes, provided that defendants comply with the procedure set forth in the Court’s July 27,
 2009 decision.



 Plaintiffs’ motion for sanctions

06C552 Young, et al. vs. Cook County, et al.                                                                 Page 2 of 3
            Case: 1:06-cv-00552 Document #: 402 Filed: 08/03/09 Page 3 of 3 PageID #:8923
                                          STATEMENT


 Plaintiffs have moved for imposition of sanctions based on defendants’ non-compliance with written
 discovery requests seeking production of grievances relating to strip searches. As the Court determined at
 the hearing on July 29, 2009, defendants failed to properly search for, and failed to produce, responsive and
 highly relevant grievances relating to strip searches, including intake strip searches. This was unjustified,
 and it was not harmless, because plaintiffs were deprived of the opportunity to call the grievance filers as
 witnesses and to conduct discovery and possibly present evidence regarding what became of these grievances
 and regarding the effectiveness of the grievance process generally. In addition, given the circumstances
 under which the grievances attached to the motion for sanctions were discovered and produced, and the fact
 that they were not produced as a result of a search by defendants or their counsel, it is highly probable that
 other similar grievances exist and still have not been produced. The Court also finds that at the hearing on
 the motion, defense counsel misrepresented that there had been an agreement with plaintiffs’ counsel to limit
 production of strip search-related grievances to those concerning searches during the intake process. As the
 Court noted at the July 29 hearing, this contention was completely undermined by, among other things, the
 fact that the grievances defendants actually had produced were not limited to grievances concerning intake
 searches.

 The imposition of sanctions pursuant to Federal Rule of Civil Procedure 37 is appropriate and necessary to
 remedy the harm that plaintiffs have experienced due to defendants’ misconduct during the discovery
 process. First, defendants are precluded from offering evidence or arguing that policy-making personnel
 were unaware of complaints about intake strip search practices at the Jail during the times relevant to the trial
 in this case. The submission of the grievances at issue will be deemed to constitute notice of these grievances
 to policy-making personnel and not simply to lower-level personnel at the Jail or Sheriff’s Office. This
 sanction is tailored to the violations identified earlier, because it provides a remedy for the fact that plaintiffs
 were stymied from pursuing discovery regarding what became of the grievances and how they were handled
 and addressed.

 Second, the Court declines to bar defendants, as plaintiffs request, from contending that they did not have
 notice of “proven widespread practices.” Whether the grievances that have now been identified are sufficient
 to describe “widespread” practices is a matter of legitimate debate. That said, the Court will entertain the
 possibility of providing the jury with an instruction regarding defendants’ noncompliance with discovery
 obligations regarding the request to produce grievances about strip searches and the possibility of an
 inference that a complete search would have uncovered additional grievances regarding the intake strip
 search process. The Court will leave it to plaintiffs to propose such an instruction at an early point during the
 trial and will hear argument at that time regarding whether such an instruction is appropriate and what it
 should say.

 Third, the Court will bar defendants from cross-examining plaintiffs’ witnesses regarding their failure to file
 grievances regarding their treatment during the intake search process. Though the Court previously ruled
 that this evidence is relevant and admissible, see July 27, 2009 Decision at 8, admission of this evidence even
 for the limited purpose of attacking credibility might lead a jury to infer that because of the absence of
 complaints by these witnesses, defendants were not on notice of alleged improprieties in the intake search
 process. Given defendants’ violations of the rules of discovery relating to production of grievances, plaintiffs
 have been effectively deprived of the opportunity to conduct discovery, in advance of trial, regarding the
 effectiveness of the grievance process.




06C552 Young, et al. vs. Cook County, et al.                                                                 Page 3 of 3
